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                     EXHIBIT 1
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Estrada, Larry Edgar
DOB: 01.13 .1979




             Attorneys: Marc Kadish & Kyle Friesen


        NEUROPSYCHOLOGICAL EVALUATION




                                                            Antonio E. Puente PhD
                                               1508 Military Cutoff Road, Suite 303
                                                            Wilmington, NC 28403
                                                                        12.11.2019
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                        NEUROPSYCHOLOGICAL EVALUATION

IDENTIFYING INFORMATION:

NAME:                 Larry Estrada
DOB:                  01.13.1979
AGE:                  40
RACE:                 Hispanic
SEX:                  Male
DATE:                 12.11.2019

EVALUATION PROCEDURE:

Marc Kadish and Kyle Friesen, attorneys at law, requested a neuropsychological evaluation with
a focus on intellectual disability and adaptive behavior for their client, Larry Estrada.

Four steps were taken to complete this evaluation. First, prior records and evaluations were
requested and extensively reviewed. This information is contained in the attached Review of
Records.

Second, several interviews were conducted. I interviewed Mr. Estrada on 09.29.2017 at the
Polunsky Unit of the Texas Department of Criminal Justice. He was interviewed in English, as he
desired. Members of bis family and acquaintances were interviewed by me between 09.29.20 17
and 09.30.2017. These interviews were conducted in person, in Spanish and English, as requested
by the person interviewed. The interviews were completed in Livingston and Houston, Texas. This
information is contained in the attached Appendices.

Third, Mr. Estrada was tested on 09.29.2017. His testing occurred at the prison and was conducted
by the evaluator, again in English, with no third-party observers. However, there were several
limitations given that testing was done through a glass window. On 09.30.2017 his mother Juana
Sowers was tested at her home in Texas, with no limitations imposed.

Mr. Estrada and his family were introduced to me by a member of Mr. Estrada's defense team.
This was followed by a personal introduction to Mr. Estrada or significant others by the evaluator,
including personal and professional information. The procedure, purpose, and potential outcome,
together with the limits of confidentiality, were discussed prior to each professional contact; Mr.
Estrada and his family understood and verbally consented to the interviews and/or testing.

Fourth, Mr. Estrada had been previously tested on 04.09.1998 and 03.01.2017; prior assessments
were reviewed and summarized.
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DEFINITION OF INTELLECTUAL DISABILITY:

There are three different commonly used definitions of intellectual disability. They are:

   1. American Association for Intellectual and Developmental Disability (11 th Edition)
   2. Diagnostic and Statistical Manual of Mental Disorders (5 th Edition)
   3. International Classification of Diseases (1 0th Edition)

These definitions are found in the Appendix E: Information regarding Intellectual
Disability/Mental Retardation.

In summary, these three definitions contain three common criteria or prongs in the most recent
version of each of these three diagnostic nomenclatures:

    1. An intellectual ability that is two standard deviations or more below the population, which .
       is equivalent to an IQ score around 70, and
    2. Significant impairments in adaptive functioning represented by conceptual, social, and
       practical skills must be present, and
    3. Both of these prongs must be concurrently presented before the age of 18.

The data suggest that some individuals in the mild Intellectual Disability range, despite appearing
superficially average, struggle to be successful in society and require ongoing support in order to
perform adequately in one or more life settings at school, at work, at home, or in the community
(APA, 2013). Just because they are functioning within society, though marginally, and they are
labeled as mildly impaired should not mean that they are not intellectually disabled.

REVIEW OF RECORDS:

Records pertaining to Mr. Estrada were received periodically between 2016 and 2017 and
reviewed accordingly. The total number ofrecords reviewed for this evaluation, and their
summaries, are found in the attached document entitled "Review of Records" . In addition,
records from his family were also received and reviewed.

HISTORY:

General History
Mr. Estrada was born in Houston, Texas on O1.13.1979. His parents were co-workers who were
not involved in a long-term romantic relationship when he was conceived. His mother comes from
a severely economically disadvantaged family and lacks formal education. His biological father
was not involved in his life, and Mr. Estrada thought of Marcial Perez as his father. Marcial Perez
was the biological father of Mr. Estrada's younger sibling, Sergio. Mr. Estrada is the oldest of
Juana Sowers' six children, with most of them from different fathers.

When Mr. Larry Estrada was one year old, Child Protective Services was called, and he was placed
in foster care. Because no signs of abuse were seen in Mr. Estrada, only lack of appropriate
supervision, he was subsequently placed back with his mother, Juana. When Mr. Estrada was age
3, his brother David (age one) drowned while in the tub with him. Per reports this happened while
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the children were not being supervised. Per Claudia, Mr. Estrada's maternal aunt, this death
affected him significantly. Patricia Pace, Mr. Estrada' s kindergarten and first grade teacher,
indicated that he showed up to school with bruises, smelly and dirty.

At age 10, Mr. Estrada was sent to Mexico to live with his aunt, Claudia. Claudia shared that Mr.
Estrada had an injury while he was with her in which he briefly lost consciousness and complained
of headaches for a few days. However, she did not take him to a hospital or to see a doctor. During
his time in Mexico, he also played in the fields that were filled with pesticides. He then returned
to the United States to live with his mother and her new boyfriend, Mr. Sowers, where he continued
to be neglected and abused at home. Mr. Sowers was described by several sources as an alcohoUc
and very violent.

Mr. Estrada was described by several individuals as a good and caring child who did not
experience much stability in his formative years. He moved multiple times, changed schools, and
did not have a stable father figure. Despite all this, he enjoyed helping others. He started working
at a restaurant as busboy when he was 11 or 12 and worked for approximately 3 to 4 years. This
restaurant was owned by Helen Rodriguez's father. Per Helen Rodriguez, Mr. Estrada worked
hard, took pride in his work, and was trustworthy and very obedient. However, Ms. Rodriguez
shared that Larry couldn't answer customer's questions on his own and needed to be told what to
do (e.g., what utensils to use) even though he had been shown numerous times how to do tasks.
She also reported that he had trouble handling the money and giving back the correct change. At
around age 15, he started working in carpeting and painting and was said to apply minimal
mental effort in these tasks while being highly supervised. Mr. Ocampo, who employed Mr.
Estrada doing carpeting jobs, described that even though Mr. Estrada had the same job every
day, he would not complete tasks until he was given direct and specific instructions; he would
frequently also bring him the wrong tools to work with. Mr. Ocampo compared Mr. Estrada to
his cousin who was the same age and shared that Mr. Estrada was a "slow learner". Overall, per
reports, Mr. Estrada struggled to understand how to act in situations, was constantly taken
advantage of, and needed ongoing gujdance.
Academic History
Mr. Estrada attended school in Texas and Mexico. Records indicate that at age five he was
enrolled in Hancock Elementary in Houston, Texas. His kindergarten and first grade teacher at
Hancock Elementary School, Mrs. Patricia Pace, was interviewed and shared that Mr. Estrada
was a "sweet and sensitive boy who struggled in school" and had difficulties meeting academic
standards or criteria. As records show, in the Standardized Test of Mastery dated April 1986, Mr.
Estrada did not meet mastery of minimum expectations in writing and math during this year.
Transcripts from school reveal that he attended Hancock Elementary school until the second
grade, at which time he attended school in Mexico before returning to the United States to
continue his schooling. Michael Hamling, his seventh-grade teacher and then football coach, also
described Mr. Estrada' s difficulties in school. Despite this struggle, Mr. HamUng shared that Mr.
Estrada worked and tried hard, and because of this combination, he was passed in his classes.
Mr. Estrada stopped attending school when he was in the 11 th grade.
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His grades in middle school were mostly "Bs" and "Cs." In the standardized test he took during
his 7 th , 8th and 10th grade, he did not meet the minimum expectations in math. Additionally, he
did not meet expectations in writing in 7th grade and reading in the 10th grade suggesting a
discrepancy between his grades and standardized testing.

INTERVIEW WITH MR. ESTRADA:
When asked about his social history, Mr. Estrada shared that he was born and lived in Houston
until he was "6 or 7 or 8" when he moved to Mexico. He indicated that his mother sent him to
Mexico with his brother, Sergio, to live with his aunt Claudia. Mr. Estrada reported that in
Houston his mother was never home and in Mexico he "got to experience the life of a kid"
because there was someone there to take care of him and his brother. They then moved back to
Houston with their mother.
While growing up for leisure he played sports. Mr. Estrada reported he played football as second
string in Northbrook High School and basketball around his neighborhood. He indicated he made
his friends through sports.
Regarding his work history, Mr. Estrada shared that he worked at the restaurant as a bus boy, in
carpeting, and as a bagger, He tried the cash register but "it was hard" and because he could not
keep up, went to cleaning. He shared that his jobs were " minimal mental" and mostly ' labor
work."
Regarding school, he described it "like another job." He also shared that school was " not overly
hard" and that in any class he took "there was always somebody to help.' He indicated that he
was better at history than at other classes and overall rated himself as an "average" student.

When asked to describe himself be said "I ain't good in describing myself, what you see is what
you get. ' He described being heterosexual and denied ever having a girlfriend. He reported that
his goal in life was to be done with school and get his "own place."
When asked about his daily functioning, Mr. Estrada reported that in jail he enjoys listening to
the radio and playing board games.

PRIOR PSYCHOLOGICAL TESTING:

According to the records made available, Mr. Larry Estrada was previously tested by two other
psychologists:

 Date                  Doctor                       Test                             IQ score
 04.09.1998            M. Gilhousen, PhD            Short Form of WAIS-IQ            76*
                                                                     th
 03.01.2017            John Fabian, PhD.            Stanford Binet  5   Edition      74 **
 * Although Dr. Gilbousen' s notes state that the short form of the WAIS yielded an IQ equivalent
of 76, in the Texas Department of Criminal Justice Investigation Worksheets (on 04/28/ 1999,
10/ 19/ 1999, 03/12/2003, 07/21/2005 and three additional dates that were illegible) his IQ was
labelled as being below 73.
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**Dr.Fabian indicated that when applying the Flynn effect, the adjusted IQ score would become
a 69. However, after rescoring his data we obtained a Full Scale IQ of 76; when the Flynn effect
is applied this score becomes a 71.

These scores suggest he meets the standards of prong 1 of Intellectual Disability according to all ·
three diagnostic criteria used in the United States.

NEUROPSYCHOLOGICAL TESTING:

TESTING INFORMATION:

Whenever possible, percentile scores are provided. Percentiles range from 1 to 99 with 50 being
average. Significant scores tend to be closer to either extreme, whether high or low. Whenever
possible, T scores were also provided. The average for a T score is 50. Deviation of 10 points up
or down from 50 is one standard deviation from the mean and in the impaired range.

Numerical scores are provided whenever possible and in addition, again whenever possible, scores
are interpreted using the following labeling system: mild- above one but less than two standard
deviations from the mean and indicates an individual will have problems in that particular domain
but may be able to function with some difficulty. Moderate impairment is between two to three
standard deviations from the mean and suggests an individual that will require external assistance
to be able to function with some degree of success and even then, is not very likely to do so
adequately without regular support and direction. Significant is three or more standard deviations
from the mean and suggests this individual will have problems of significance regardless of any
type of intervention, including but not limited to inpatient or residential intervention. If a test score
is not in the impaired range, it will be labeled as "within normal limits".

Testing information is provided in two sections. One is a narrative and is contained as part of the
actual report. Two is the table of test results included both quantitative findings along with
reference information.

TESTING BERAVIOR:
Mr. Estrada was cooperative throughout the testing session, however given that testing was done
through a glass window, caution should be used in interpreting these results, and this should be
considered an estimate of his functioning. The composite of his behavior and effort observed
during testing suggest these findings are acceptable and reflective of his functioning.

TESTS ADMINSITERED:
Effort:
Dot Counting Test score was 24 which suggests less than optimal effort.

Executive Functioning:
The Stroop Color and Word Test yielded scores in the highly impaired range or approximately T
of less than 20.
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Intellectual Abilities:
The Comprehensive Test of Non-Verbal Intelligence, 2nd Edition (CTONI-2) yielded a Full-Scale
score of 73 or in the third percentile, suggesting that this individual is functioning at the borderline
to impaired range.

Academic Abilities:
The Wide Range Achievement Test, Fourth Edition (WRAT 4) in English was administered. Mr.
Estrada's abilities in Word Reading were in the 12th percentile and equivalent to a sixth-grade
level. His math abilities were in the fifth percentile and equivalent to a fourth-grade level. In
summary, his academic abilities are between the fourth and sixth grade and between the fifth and
twelfth percentile.

Portions of the Woodcock Munoz Language Survey Revised (Spanish) was administered. Mr.
Estrada's academic abilities in Spanish as measured by subtests Vocabulario was equivalent to 4.2
years of education and 11 years of age. Analogia Verbales yielded an educational equivalent of
2.3 and an age equivalent of 7 years of age. Hence, his vocabulary was better than his
understanding of verbal analogies.

Overall, whether his academic abilities were measured in Spanish or in English, his performance
is in the low range of functioning.

INTELLECTUAL TESTING OF ms MOTHER:

Juana Yanez, Mr. Estrada's mother, was administered the CTONI-2 in Spanish, according to the
instructions of the manual with no accommodations or modifications. Her IQ was 60, in the
lowest I st percentile, and in the range of moderate intellectual disability.

PRONG 1 OF INTELLECTUAL DISABILITY:
INTELLECTUAL QUOTIENT INFORMATION

Prior to providing a conclusion regarding his intellectual quotient, the following observations are
provided:

    1. Intellectual abilities testing was completed over two decades by three different licensed
       psychological professionals (i.e. Drs. Gillhousen, Fabian and Puente) using three
       different intellectual abilities tests.
    2. The difference across two decades, three psychologists, and three different IQ tests is 3
       points.

Without the application of the Flynn effect, Mr. Larry Estrada's IQ is in the lower portion of the
borderline intellectual abilities scales which is in the lower- to mid-70s. When the Flynn effect is
applied, these scores drop to the lowest possible portions of the borderline range of intellectual
disability.

When the margin of error, or the standard error of measurement is applied, the lower range of
scores dip into the mild intellectual disability range whereas the upper portions remain in the
mid-range of borderline intellectual disability.
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The intellectual disability measured is likely due to multiple reasons (e.g., the mother meets prong
1 of an intellectual disability diagnosis as well). The deficits are also likely due to a significant
brain impairment as evidence by the low scores on the neuropsycbological tests.

PRONG 2 OF INTELLECTUAL DISABILITY:
ADAPTIVE ABILITIES FUNCTIONING- QUALITATIVE DAT A:

The following information was obtained from interviews and a review of affidavits. See Appendix
B: Interviews and Qualitative Data for further information. This information comes directly from
the interviewed individuals and is based on the informant' s own interpretation of Mr. Estrada' s
functional capacities. These :findings should be considered in the context in which the information
was obtained, as the reference sample for some individuals are people who are low functioning
and for others it is higher functioning individuals.

Collateral Interviews
The following individuals were interviewed face-to-face by me in the preferred language of the
interviewee with the date that they were interviewed in in parentheses:

    1. Andrew Deleon, Jr. (09.29.2017)
       Client' s childhood best friend during middle school years (between ages 13 and 16).
       During the interview, Mr. Deleon indicated that they met when Mr. Estrada was around 13
       years old because they lived in the same trailer park. Mr. Deleon mentioned they "hit it off
       right away" and became very close. Mr. Deleon shared that his house became Mr. Estrada's
       second home, and he stayed there every night and on weekends. Mr. Estrada's house was
       described as not pleasant and a sad place his stepfather was always drinking and treated
       Mr. Estrada poorly, and he would scream at him and call him "stupid." Mr. Deleon also
       shared that Mr. Estrada's mother did not speak English. Regarding Mr. Estrada's
       functioning, Mr. Deleon indicated that social1y he was very shy, a follower, and did
       whatever his cousin told him to do. Mr. Deleon shared that Mr. Estrada had difficulty
       understanding basic concepts such as certain rules of a basketball game (e.g., double
       dribble). He also mentioned that Mr. Estrada did not seem to grasp the concept of money,
       and he never counted money when paying. He added that overall Mr. Estrada seem to be
       "level-headed."

    2. Patricia Pace (09.29.2017)
       Teacher- who taught him kindergarten and first grade between the ages 5 and 7. She is a
       regular and special needs teacher and Principal who has in her charge over 35,000 students.
       She shared that she met Mr. Estrada in kindergarten, and he started late in the school year.
       She reported that she "fell in love with this disadvantaged child" and bonded with him
       immediately. She described that Mr. Estrada never really fit in, was a bit of a ]oner, and
       was a very lonely/flat kid. She shared that he struggled in school especia11y in math and .
       that "today we would call him learning disabled."

    3. Helen Denise Rodriguez (09.29.2017)
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         Family- she was married to the father of Mr. Estrada's half-brother. She provided care for
         Mr. Estrada and has known him since he was about 5 years old. She is a Special Education
         teacher for 7 th and 8th grade. She shared that Mr. Estrada worked at her father's restaurant
         for several years and mostly did simple repetitive task at work. She intimated that Mr.
         Estrada's mother did not put kids first, especially after she became Jehovah Witness. When
         asked to give positive qualities of Mr. Estrada, she shared he was obedient, trustworthy,
         sweet, kindhearted, always willing to help and wanted to please others. She shared that Mr.
         Estrada had difficulties with sorting, learning Spanish, and understanding instructions (e.g.,
         things had to be explained in a concrete way for him to understand). Socially she described
         that Mr. Estrada was easily influenced and bad no friends. She indicated she lost contact
         with Mr. Estrada when be moved to Spring Branch- a neighborhood on the opposite side
         of where she lived.

    4. Sergio Antonio Estrada (09.29.2017)
       Cousin- most of their interactions were around the ages of 13 and 17. Sergio Antonio
       Estrada shared that he and Mr. Estrada started hanging out more with each other in high
       school, when they played football and some basketball. He described Mr. Estrada as
       someone who was easily influenced by people (especially wrong people). He also
       described him as a slow learner and not "very bright." He shared that he had to help Mr.
       Estrada with homework, change (money) at stores, job applications, and explaining the
       rules in basketball. He mentioned that his other cousins, P.J. and Junior, were in gangs for
       easy money, but Mr. Estrada was "too dumb to realize right from wrong even to this
       day."

    5. Claudia Gutierrez (09.30.2017)
       Maternal Aunt- she lived with Mr. Estrada, Juana and Carlos when he was a newborn.
       Claudia was also his primary caregiver when be was in Mexico from approximately ages
       9 to 10. During her interview, she talked about Mr. Estrada's difficulties in school and
       doing simple tasks. She shared that the year he stayed with her she constantly bad to help
       him do things. She also shared that he had difficulty properly putting his shoes on and
       tying his shoes, as well as putting the buttons of his shirt on correctly. Mr. Estrada
       regularly wet the bed when he was age 10. She shares that he was nai've and didn't avoid
       dangerous things. Claudia shared an incidence in which be traded a baseball cap less than
       it was worth. Overall, she mentioned that he does not reason and has to be supervised to
       succeed.

    6.    Juana Sowers "Yanez" (09.30.2017)
         Mother- She offered limited information and does not seem to have been very involved in
         her son' s life. Mr. Estrada' s mother reported having six children from four different
         fathers. She indicated that her son David died and that this really affected Mr. Estrada.
         She described Mr. Estrada as a "good kid" who didn't fight with anyone and took care of
         his siblings. When asked about negative qualities that Mr. Estrada had she said that he
         did not clean his room, wanted to sleep a lot, and was easily manipulated.
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Review ofaffidavits
Affidavits of the following individuals were provided with the relationship to Mr. Estrada and the
ages Mr. Estrada was when they were acquainted with him in parentheses:
    1. Andrew Deleon, Jr. (friend ~ 13-16):
       One of Mr. Estrada's childhood best friend. He went to school together and lived in the
       same trailer park. Mr. Deleon talks about his adaptive functioning. He also discusses how
       poorly Mr. Estrada was treated by his stepfather.

   2. Teresa Ocampo Estrada: (family ~ 6 on)
      She was married to Mr. Estrada's uncle Tiberius Estrada. She reported she "began to
      know Larry very well" when Mr. Estrada was age 15, as they lived close and he walked
      to her house to eat. She mentioned that Mr. Estrada did not seem to have friends and was
      shy and meek. She also discusses how he did not speak Spanish and how they would all
      make fun of him because of that, especially since he had lived in Mexico. She would try
      to teach him Spanish, and Mr. Estrada would repeat the word over and over trying to get
      it right, but he was not able to say the word correctly the next time he came over. She
      also discussed Mr. Estrada' s inability to understand his cousin' s intentions and how he
      was easily pressured to join the gang.

    3. Maurino Estrada: (family ~ 13-15)
       Mr. Estrada worked with him doing carpeting around age 15-16. He could understand,
       but had difficulties responding to requests. Mr. Maurino Estrada shared how hard it was
       for him to have a conversation because he would provide short answers and never
       volunteer conversations. He also shared that Mr. Estrada's ability to understand and
       speak Spanish was poor and that he was very slow. Finally, Mr. Estrada would never
       defend himself when they were making fun of him.

   4. Helen Rodriguez: (family friend ~ since 5)
      Ms. Rodriguez, a special education teacher, took care of Mr. Estrada and his younger
      brother Sergio. Helen was married to Marcial, who is the father of his younger brother.
      Per Ms. Rodriquez, Mr. Estrada thought of Marcial as his biological father until after his
      incarceration. She talks in detail regarding his limited adaptive functioning as well as
      how he was neglected and emotionally and verbally abused by his mother. Ms. Rodriguez
      also talks about the instability in the household and how chaotic it was. Apparently, Mr.
      Estrada was constantly at risk with his mother including when she sent the brothers
      unexpectedly to Mexico. This may have been particularly traumatic since Mr. Estrada
      was not fluent in Spanish and when the children arrived in Mexico, they were told that
      they would not return to the US.

    5. Belinda Tovar: (friend ~ 13-16)
       She lived in the same trailer park as Mr. Estrada and would visit their house often and
       stay over. Mrs. Tovar tried to intervene and help his family, but these interventions were
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       not effective. She mentioned that Mr. Estrada was so desperate for a mother figure to take
       care of him and give him love that Mr. Estrada used to call her "mom."


    6. Flora Estrada: (family ~ since 4)
       In her affidavit this cousin talks about Mr. Estrada' s family. She talks about when his
       younger brother died. Mr. Estrada, who was four at the time, was taking care of his two-
       year-old sibling.

   7. Sergio Antonio Estrada: (family ~ lifelong)
      Mr. Sergio Estrada attended school with the defendant, and they were particularly close
      during high school. He talks about his cousin' s difficulty in school as well as
      understanding Spanish. He also mentions that they were constantly targeted by gangs
      trying to recruit them.

   8. Bernardo Estrada: (family ~ lifelong)
      He is a cousin who went to school together. He reported that Mr. Estrada did not make
      much conversation and was quiet and relaxed. He also shared that he did not participate
      much in activities with other children. He also mentioned that the Mr. Estrada did not
      speak Spanish and that he didn't know if he was able to communicate with his mom
      without speaking Spanish.

   9. Mario Estrada: (family ~ lifelong)
      Though in this affidavit, not much information is provided in terms of the defendant,
      useful information is provided regarding learning the craft of laying carpet. He describes
      the difficulty Mr. Estrada experienced in picking up the craft especially with the required
      tools.

   10. Patricia Pace: (teacher~5-7)
       Mr. Estrada' s kindergarten and first grade teacher at Hancock Elementary School. Mr.
       Estrada caused an impact on her and people at the school would refer to him as "your
       Larry." This name reflected Mr. Estrada' s interest in pleasing people and how he
       struggled in school. His performance in standardized scores is explained.

   11. Michael Hamling: (teacher ~ 13- 15)
       Mr. Estrada's seventh-grade teacher and football coach. In his affidavit he talks about the
       defendant's difficulties with school and how much he wanted to belong and fit in. He also
       mentioned that Mr. Estrada worked hard and tried his best, but still bad trouble
       understanding and problem-solving. Mr. Hamling also discusses the school records and
       how the standardized scores reflected that he did not have the "same intellectual
       functioning as most oftbe students in his class."

   12. Cipriano James Ocampo: (friend ~ since about 13)
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       Mr. Ocampo met Mr. Estrada in the 1990s when Mr. Estrada asked him for a job. Mr.
       Estrada worked with him during summers when he was 13 and 15 doing carpeting. Mr.
       Ocampo compared him to Sergio and explained that Mr. Estrada was a slow learner. He
       also explained that Mr. Estrada had difficulties bringing the correct tools from the
       toolbox, which contained about twenty tools, and it took him around a month to become
       familiar with the tools. Task performance required significant supervision.

    13. Elvira Carrillo: (friend ~ lifelong)
        She was Mr. Estrada's neighbor since he was born. Ms. Carrillo also worked with Mr.
        Estrada's biological father and his mother at a Mexican restaurant called El Patio. She
        explained how Child Protective Services investigated potential family abuse. Apparently,
        Larry' s uncle had complained to the neighbors that Juana was very abusive. Mrs. Carrillo
        also indicates that she took care of Mr. Estrada when he was a baby and that Juana would
        leave him at her house three or four days at a time before returning.

    14. Claudia Gutierrez: (newborn - 16)
        She is his maternal aunt and Juana Sowers' older sister. She bas known Mr. Estrada his
        entire life. She also lived with Mr. Estrada


ADAPTIVE ABILITIES FUNCTIONING DATA OBTAINED THROUGH INTERVIEWS
AND AFFIDAVITS ACCORDING DIFFERENT PRONG TWO SUB-CRITERIA:
The following are examples from the different sources describing specific situations in which
Mr. Estrada exhibited limitations in conceptual, social and practical skills, comparing his typical
behaviors in relation to his peers:
See Appendix B: Interviews and Qualitative Data and the attached Review of Records for further
information.

Conceptual Skills
Conceptual skills involve language and literacy; money, time, and number concepts, acquisition
of practical knowledge, problem solving, and judgment in novel situations, among others.

    1. Receptive and Expressive Language & Learning:
    Mr. Larry Estrada' s kindergarten and first grade teacher, Patricia Pace, shared that although
    Mr. Estrada read early, he did not comprehend but just called out words. His aunt, Claudia
    Gutierrez, indicated that while he lived with her, he could not read or write well. She also
    reported that he had trouble understanding basic school assignments and how to do them even
    when instructions were clear, and his aunt was helping him. Claudia Gutierrez gave examples
    of simple tasks Mr. Estrada struggled with at age 10, such as properly tying and putting on his
    shoes. Helen Rodriguez reported that things had to be explained to him in a concrete way for
    him to understand. Ms. Rodriguez indicated that Mr. Estrada had trouble identifying
    information that was relevant and important and separating it from information that was not
    relevant. Ms. Rodriguez, who is a special education teacher, gives additional examples about
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   Mr. Estrada's difficulty processing information and compares him to the children she teaches.
   Adctitionally, she shared that as a teenager Mr. Estrada struggled to answer questions if he
   hadn' t been taught exactly what to answer. Michael Hamling, Mr. Estrada's seventh grade
   teacher and football coach, reported that Mr. Estrada could do basic tasks but was not good at
   problem solving. Mr. Hamling also discussed the assessment of academic skills and said "Larry
   did not have the same intellectual functioning as the other students in his grade" which he
   supported in later descriptions of Mr. Estrada. Andrew Deleon, Mr. Estrada's childhood
   friend, reported that Mr. Estrada had difficulty understanding the point somebody was trying
   to make in a conversation or the information that was being conveyed. Marino Estrada shared
   that he could not have conversations with Mr. Estrada because he only spoke in short phrases.
   Sergio Antonio Estrada indicated that Mr. Estrada was very slow, and it took him a while to
   figure out simple stuff, so he had to constantly help him. Sergio Antonio Estrada also shared
   that Mr. Estrada had poor grammar and underdeveloped vocabulary in English compared to
   his peers. Sergio Antonio Estrada, Marino Estrada, Clauctia Gutierrez and Teresa Ocampo all
   alluded to the fact that Mr. Estrada struggled speaking and understanding Spanish even though
   that was the language his mother spoke and everyone around where they lived could speak
   Spanish. Compared to other children in his same situation his ability was very poor, which
   would lead others to make fun ofhim. Teresa Ocampo said she would try to teach rum Spanish
   and he would repeat the word over and over trying to get it right, but he was not able to say the
   word correctly the next time he came over. Cipriano Ocampo, who Mr. Estrada worked with
   when he was 15 years old, shared that although Mr. Estrada bad the same job every day, be
   would not complete tasks until he was given direct instructions and even then, he did not
   understand what he was doing. Mr. Ocampo indicated that compared to his cousin who was
   the same age, Mr. Estrada was a slow learner. Through the information gathered across the
   interviews and affidavits, Mr. Estrada appears to struggle with attending to, responding to, and
   understanding information given by others, as well as expressing rus needs, when comparing
   rum to his peers. These deficits have been present through different developmental stages, and
   in different settings.

   2. Money, Time and Number Concepts:
   Patricia Pace reported that even in his early grades Mr. Estrada struggled with math, and she
   referred to the standardized test indicating that he did not meet the minimum competencies in
   math in first grade and in seventh, eight and tenth grade. During his interview, Andrew Deleon
   Jr., reported that Mr. Estrada did not grasp the concept of money; he paid and ctid not count
   the money before to make sure he was given the correct amount. Similarly Sergio Antonio
   Estrada reported that Mr. Larry Estrada had difficulty with math and handling money and
   change at the store. As an example, Sergio Antonio shared that when Larry paid with bills or
   was counting change, be was often slow and incorrect when doing it and would require
   assistance. Another example given by Sergio Antonio was that when Larry used the food stamp
   card to make a purchase and was told there were insufficient funds, he put away some things
   and run the card again until be was successful, rather than thinking of the cost of each item.
   Claudia Gutierrez also ctiscussed Larry's ctifficulties with math in school, as well as with
   number concepts and money. Regarding this, she intimated that because Mr. Estrada was not
   good at counting money and ctid not trust he would get the correct amount of change, whenever
   she asked him to go buy things, she gave him the exact amount of money needed. Claudia also
   shared that while doing carpeting when he was a teenager, Larry had difficulties understanding
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    measurements and felt ashamed because other workers his age were able to do it. Similarly,
    Helen Rodriguez reported Mr. Estrada struggled with sequencing and he had a particularly
    hard time with math.

    3. Assessing High-Risk Situatioll, Problem-Solving and Judgmellt of Novel Situations:
    Many of the informants shared that Mr. Estrada would only consider the present moment
    without thinking about the future and had difficulties with reasoning and problem solving.
    Helen Rodriguez shared that Mr. Estrada has significant difficulty problem solving, partly
    because he only understood or could see what was in front of him and not the bigger picture.
    Ms. Rodriguez also discussed different situations in which Mr. Estrada did not have the ability
    to understand that something was wrong. Helen Rodriguez indicated that Mr. Estrada was very
    trusting and would blindly do what others told him to do without thinking about it or the
    consequences of that. He was unable to distinguish between people with good intentions and
    bad intentions or understand context cues. Michael Hamling described that Mr. Estrada was
    not good at problem solving; as an example, Mr. Hamling reported that if someone asked him
    to do a simple task, he would do it, but if it was more specific or complicated, be would not
    know what to do or say. During her interview, Claudia Gutierrez shared that Mr. Estrada did
    not avoid dangerous things and did not consider whether things were right or wrong. She also
    indicated that it was easy for his cousins to take advantage of him because Mr. Estrada did not
    believe that his cousins would do anything to harm him. Similarly, Andrew Deleon Jr.,
    described Mr. Estrada as especially vulnerable because he did not know when people were
    taking advantage of him, as he did not have the ability to read or understand their intentions
    and avoid being manipulated. Mr. Deleon also shared that Mr. Estrada could not understand
    the consequences of his actions. Teresa Ocampo shared that although his relatives were in
    gangs and could not be trusted, Mr. Estrada did not see the bad in them and was friends with
    and trusted them. Belinda Tovar, Andrew Deleon ' s mother described that Mr. Estrada was not
    good at problem solving which likely resulted in his inability to figure out basic tasks. She
    added that Mr. Estrada could not see the consequences of his actions, did not explore different
    alternatives, and could not conceive of there being outcomes. Similarly, Sergio Antonio
    Estrada reported that Mr. Estrada was unable to distinguish right from wrong.

    4. Difficulty Acquiring Practical Knowledge:
    Mrs. Claudia Gutierrez, Mr. Estrada' s aunt, reported that Mr. Estrada had to be shown how to
    do simple things over and over. For example, she shared that when she would ask him to help
    his brother Sergio put shoes on, be would not get it right. He also was unable to put on his own
    shoes and wear his uniform correctly even though he had been previously taught to do so
    correctly. Helen Rodriguez shared that Mr. Estrada needed someone to walk him through a
    multi-step process even if the task was simple. She gave an example in which she bad to explain
    the correct way of putting ice in the cups. Belinda Tovar, Mr. Deleon' s mother, reported that
    Mr. Estrada needed to be shown how to do many tasks, and if no one showed him he could not
    figure it out. Maurino Estrada, Mr. Estrada' s cousin who he worked with doing carpeting
    around age 15, shared that Mr. Estrada was only given basic tasks because he was very slow
    and took more time to learn skills and use correct tools, even after being instructed several
    times. Similarly, Mr. Ocampo shared that Mr. Estrada had significant difficulties learning to
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    work with the tools and it took him prolonged periods to understand directions. Although his
    work was the same every day, he could not do the job without direct and explicit instructions
    each time. Mr. Estrada would always expect Mr. Ocampo to give him instruction on what to
    do for each step of the process. He was also unable to learn and use to correct tools. Sergio
    Antonio Estrada indicated that he had to explain the basketball rules several times and, even
    then, Larry never fully understood. Consistent with this, Andrew Deleon shared that Mr.
    Estrada had a hard time understanding certain concepts and rules of basketball even though he
    played often.

Social Skills

The social domain involves awareness of others' thoughts, feelings, and experiences, empathy,
interpersonal communication skills; gullibility, naivete, social problem solving, among others.

    1. Gullibility, Victil-tiization and Naivete:

   Claudia Gutierrez described Mr. Estrada as being very na'ive. Mrs. Gutierrez shared an event
   in which he was taken advantage of; he ended up trading a $25.00 baseball cap for 20 pesos
   and still thought he owed 200 pesos to the children who bought the cap. She also shared that
   he had a job in which he was paid with flowers and did not grasp that he was taken advantage
   of. She also mentioned that Mr. Estrada was so na'ive he didn' t believe his cousins would do
   anything to harm him. Similarly, Teresa Ocampo reported that his cousins knew that Mr.
   Estrada was vulnerable and since they were fami ly Mr. Estrada did not understand that they
   could not be trusted. Helen Rodriguez described Mr. Estrada as being extremely innocent and
   naive and easily influenced. She said that Mr. Estrada was the "type of child to get hurt by
   others" as others would use him, and he did not recognize he was taken advantage of. She
   added that he cared about making others happy and that he "could be lured down a bad path
   but not even notice what was happening until it was too late." Andrew Deleon Jr, his friend,
   reported that Mr. Estrada was a follower and was easily manipulated and always did what he
   was told because he wanted to please others. Consistent with this, Mr. Hanlling shared that
   Larry wanted to fit in so badly that he was easily influenced and would do anything that he
   was asked to. Similarly, Juana Sowers " Yanez", Mr. Estrada's mother reported that Mr.
   Estrada was "easily manipulated." Maw-ino Estrada and Sergio Antonio Estrada shared that
   when he was made fun of, he never defended hin1self or said anything in response. Sergio
   Antonio Estrada described Mr. Larry Estrada as very friendly, gullible, easily convinced, and
   desperate to fit in. Sergio Antonio Estrada shared that Mr. Estrada was easily influenced by
   people especially wrong people; as an example, he shared that he could get Mr. Estrada to do
   anything and would not get a "no" for an answer. Sergio Antonio also intimated that it worried
   him that other people would take advantage of him. Consistent with this, Belinda Tovar,
   Andrew Deleon's mother, shared that Mr. Estrada was a follower and would be easily
   influenced by those around him, she added that he needed guidance because be did not have
   the skills to make good decisions.
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   2. Demonstrating Appropriate Knowledge and Use ofSocial Skills:
    Andrew Deleon Jr, his friend, recalled that although Mr. Estrada wanted to belong, he stood
    out because he was so quiet, which made him "socially awkward." His kindergarten and first
    grade teacher, Patricia Pace, described that Mr. Estrada never really fit in, was a bit of a loner,
    and was a very lonely/flat kid. Helen Rodriguez and Belinda Tovar shared that Mr. Estrada
    could not read people or their intentions. Additionally, Mrs. Rodriguez shared that Mr. Estrada
    did not understand relationships and was not able to take his previous experiences and
    interactions with others and apply that to the next experience. Teresa Ocampo described Larry
    as shy and meek and having few friends. Mr. Deleon and Sergio Antonio Estrada described
    that Larry had a hard time understanding conversations and how to appropriately respond and
    that he was especially awkward around girls. Sergio Antonio Estrada also shared that Mr.
    Estrada had trouble understanding jokes. Mr. Ocampo described that Mr. Estrada seemed to
    isolate himself and did not talk to any adults and seemed to not have any friends of his age.
    Overall, he was described as shy and with few friends. For additional information in this area
    refer to the receptive and expressive language and learning subsection.

    3. Leadership Skills:
    Through the information gathered across the interviews and affidavits, Mr. Estrada was
    described as "a follower" who was easily manipulated and constantly sought guidance from
    others. For additional information in this area refer to the Gullibility, Victimization and Naivete
    and Assessing High-Risk Situation, Problem-Solving and Judgment of Novel Situations
    subsections.


    4. Empathy Skills and Awareness of others' thoughts feelings, and experiences:
    A consistent theme across all informants was Mr. Estrada's need to please others, his
    inability to be wary of others, and his difficulty standing up for himself. From the
    information gathered in the interviews he did not seem to have difficulty being empathic
    towards others. However, he could not see the bad in people nor understand their intentions.
    Per available information, Mr. Estrada has a longstanding history of social victimization,
    naivete, and gullibility.

Practical Skills:

The practical domain involves learning personal care, occupational skills, independent living,
and use of money, among others.

    1. Personal Care:

    Claudia Gutierrez recalled that when Mr. Estrada stayed with her in Mexico, he regularly wet
    the bed. After wetting his bed, Larry would take off his pants but stay in the dirty underwear;
    she often had to check before he went to school to make sure be was going with clean
    underwear, because if she left it up to him he would have gone with urinated underwear.
    Claudia gave other examples such as the difficulty Mr. Estrada had properly putting on and
    tying his shoes, as well as putting the buttons of his shirt on correctly. Belinda Tovar shared
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   that Larry struggled with hygiene and bis clothes were often dirty. She reported that if she did
   not remind him to bathe, he would not have washed himself. She indicated that he knew it was
   important to care about hygiene but did not follow-through with these tasks independently.

   2.   Occupational Skills:
   Maurino Estrada and Cipriano Ocampo both shared the difficulties Mr. Estrada had learning
   the tools and the proper techniques for work tasks, even after he was instructed several times.
   Compared to other employees his age he learned slowly and had to be given more simple tasks.
   Sergio Antonio Estrada mentioned that Mr. Estrada had difficulty filling out job applications
   and would copy Sergio Antonio' s answers on job applications. His aunt, Claudia Gutierrez,
   shared how Mr. Estrada never understood how to measure the carpet to fit into the room and
   how he would be given simple tasks by his employers. Claudia Gutierrez also shared an
   experience in which Mr. Estrada worked for a man and was paid in flowers, did not realize he
   had been taken advantage of, and "was happy to be able to bring me a big bouquet of flowers."
   Helen Rodriguez shared that he was given simple routine tasks which had to be taught to him.
   As he was older, he was given a bit more responsibility, such as cleaning the bathroom, but he
   needed to be reminded for him to do it. Overall the informants described how his impairments
   made it difficult or impossible for him to learn basic occupational skills independently. For
   more information see Conceptual Skills subsection above.

   3.   Use of Money:
   His ability to use money was highly limited based on the reports given by Mr. Andrew
   Deleon, Sergio Antonio Estrada, Claudia Gutierrez and Helen Rodriguez. See Conceptual
   Skills subsection for further information.

   4.   Learning:
   As describe by bis teachers, Patricia Pace and Michael Hamling, as well as Andrew Deleon,
   Sergio Antonio Estrada, Claudia Gutierrez, Marino Estrada, Cipriano Ocampo and Helen
   Rodriguez, the ability to learn new and simple things was very difficult for Mr. Estrada.
   These learning difficulties affected bis academic and occupational skills, and perhaps his
   ability to live independently. For further information refer to the Conceptual Skills
   subsection.

   5.   Independent Living:
   Sergio Antonio Estrada shared that Mr. Estrada did not cook and only ate junk food. He added
   that Mr. Estrada was responsible for cleaning the apartment but never did; as a result, the
   apartment was "dirty and chaotic." Belinda Tovar shared that Larry did not know how to do
   laundry, cook or clean. She mentioned that without guidance he did not know what to do on
   his own. Claudia Gutierrez report that while living with her Larry tried to help with chores but
   was not very good at it; she shared that one of these chores was washing dishes, but he would
   forget to be careful and cracked the dishes. Helen Rodriguez shared that although Mr. Estrada
   helped around the house, he struggled with tasks he had not been taught before and could only
   do simple tasks. She indicated that he could maybe do eggs but could not cook more than that.
   For more information see Conceptual Skills subsection above.
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See Appenctices and Chapters 4 and 5 from Intellectual Disability (11 th ed., 2010) for further
information.

PRONG 2 OF INTELLECTUAL DISABILITY:
ADAPTIVE ABILITIES FUNCTIONING- QUANTITATIVE ASSESSMENT

The Vineland Adaptive Behavior Scale, is an individually administered measure of adaptive
behavior that takes into account information from caregivers or others who are familiar with
the individual's daily functioning. The Vineland Third Edition, was administered to the
following informants:
   1.   Andrew Deleon, Jr. (friend ~ 13-16)
   2.   Patricia Pace (Kindergarten and first grade teacher)
   3.   Sergio Estrada (Mr. Estrada's cousin)
   4.   Claudia Gutierrez (Mr. Estrada's aunt)
The basal score and administration starting point were based on the timefrarne that examinees
knew Mr. Estrada. Considering this, the results should be considered with caution. As Appendix
A, Table 3 ("Vineland-3 Testing") indicates, the consensus is that Mr. Estrada demonstrates
adaptive abilities in the lowest 1st percentile.
Overall, Mr. Estrada appears to have deficits in all areas of adaptive abilities. Socialization,
Communication and Daily Living Skills scores are overall in the Severe Deficit Range, indicating
ctifficulty expressing his needs to others and understancting what other people require of him, and
trouble understanding social interactions or what is appropriate within the boundaries of a specific
relationship.

ADAPTIVE ABILITIES FUNCTIONING- INTERFACE OF QUALITIATIVE AND
QUANTATIVE INFORMATION:

Several observations are given prior to providing an integration of the qualitative and
quantitative data.

1. There is significant congruence across informants and across lifespan development.

2. Qualitative and quantitative data are congruent.

Overall, the following deficits are apparent:

1. Conceptual Skills

   a. Receptive and expressive language and learning.
   b. Money, time and numerical concepts.
   c. Assessing high-risk situations, problem-solving and judgement of novel situations.
   e. Difficulty acquiring practical knowledge.
2. Social Skills
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    a. Gullibility, victimization and naivete.
   b. Demonstrating Appropriate Knowledge and use of social skills.
3. Practical Skills

    a. Personal care.
    b. Occupational skills.
    c. Use of money.
    d. Learning.
    e. Independent living.
Overall, the qualitative information indicates problems across the three major areas of adaptive
functional abilities. There appears to be more impairment in cognitive and practical skills than
social ones. In contrast, the deficits measured quantitatively suggest significant impairment
across the three sub-categories of adaptive functional abilities. Considering the congruence
across qualitative and quantitative information, across informants, and across developmental
levels, it is concluded that he meets Prong 2 of the Intellectual Disability diagnosis.

SUMMARY:

This evaluation involves the assessment of the intellectual abilities of Mr. Larry Estrada. The
evaluation involves review of records and affidavits, multiple interviews of the defendant and
several significant informants, and administration of psychological tests to both the defendant and
his mother.

There is congruence across all sources of information, informants, and intellectual tests. The
integration of multiple sources of information across two decades support that Mr. Larry Estrada
has an intellectual disability.

Considering the qualitative and quantitative information obtained from a variety of sources and
informants over several decades, there is strong evidence to support the conclusion that Mr. Larry
Estrada meets Prong 1, Prong 2, and Prong 3 of a diagnosis of Intellectual Disability.

DIAGNOSES:
Intellectual Disability (Intellectual Developmental Disorder), Mild.

Sincerely, / )

 {JlD 6 ~ (}A tJ,
Antonio E. Puente, PhD

Additional Attachment:
           Record Review
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                               Appendix A : Compilation of Testing Tables
                                               Table 1

                          Testing by Antonio E. Puente, PhD (DOT: 09.29.2017)

                 TEST*                          RAW SCORE       T-SCORE             %-ile            NORMS
Dot Counting E-Score                                24              ---                 ---            1
WRAT-4                                                          Std. Scores     %-ile         G.E.     1
 Word Reading                                         47             82          12           6.9
 Math                                                 31             76          5            4.9
Stroop CWT                                                                                             1
 w                                                    39            <20          <0.1
 C                                                    37             22           <1
 cw                                                   18             23           <1
 Interference                                         -1             49           <l
Woodcock-Munoz Language Survey-Revised                            AE (Est)      GE (Est)               1
 Vocabuiario Sobre Dibujos                          37              9-11          4.2
 Analoe:ias Verbales                                20               7-8          2.3
CTONI-2                                           SumofSS       Index Score                            1
 Pictorial Scale                                     17              71            3
 Geometric Scale                                    21               81           10
 Full Scale                                           38             73            3
*Testing completed through glass window.                         10.04.2017 JR/MN/KMC

     Norms Sources

              1. Manual
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                                         Table 2
     Juana Sowers "Yanez" (Mother) Testing by Antonio E. Puente, PhD (DOT: 09.30.2017)

TEST                               RAW SCORE           T-SCORE            %-ile     NORMS
CTONI-2                              Sum ofSS          Index Score                         1
 Pictorial Scale                         10                57              <1
 Geometric Scale                         16                70              2
 Full Scale                              26                60              <1
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                                          Table 3
         Vioeland-3 Testing by Antonio E. Puente, PhD (DOT: 09.29.2017, 09.30.2017)

 The following table includes Vineland testing. Of note, the basal score and administration
 starting point were based on the time frame that examinees knew LE.

TEST                             RAW SCORE         V-SCALED SCORE           STD. SCORE        %-iJe
Vineland-3
(Andrew de Leon - Friend)
Communication                          56                    5
  Receptive                            84                    11
  Expressive                         41 - 43                6-7
  Written***                                               22-23                 43-45         <1
  Total Communication
Daily Living Skills                  88 - 98               8- 10
  Personal***                        18 - 30                4-7
  Domestic***                        44 - 50                5-6
  Community***                                             17-23                 47-55         <1
  Total Daily Living
Socialization                            54                   8
   Interpersonal Relationships           44                   8
  Play and Leisure Time                  36                   8
  Coping Skills                                              24                   53           <1
  Total Socialization
Motor Skills                           77
  Gross Motor                         60-62
  Fine Motor                                              143-153                53-56         <]
Adaptive Behavior Composite
Vineland-3
(Patricia Pace -Teacher)
Communication                    60                          7
  Receptive                      85 - 87                    10
  Expressive                     41 - 43                    6-7
  Written***                                               23-24                 45-47         <1
  Total Communication
Daily Living SkilJs              75-89                      6-8
  Personal***                    NIA                         ---
  Domestic***                    13 - 33                     1-4
  Community***
  Total Daily Living
Socialization                    30 - 42                     1-5
  Interpersonal Relationships    8-25                        1-5
  Play and Leisure Time          27-33                      6-7
  Coping Skills                                             8-1 7                20-33         <l
  Total Socialization
Motor Skills                     58-84
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TEST                            RAW SCORE V-SCALED SCORE STD. SCORE                    %-ile
   Gross Motor                       58-68
   Fine Motor
Vineland-3
(Sergio Estrada - Cousin)
Communication                   49                           1
   Receptive                    79                          10
   Expressive                   48                          8
   Written***                                               19                  37      <l
   Total Communication
Daily Living Skills             92 - 94                    8-9
   Personal***                  29                          7
   Domestic***                  37                          4
   Community***                                           19-20                50-51    <1
   Total Daily Living
Socialization                   51                          7
   Interpersonal Relationships 22 - 50****                 4-9
   Play and Leisure Time        36                          8
   Coping Skills                                          19-24                38-53    <l
   Total Socialization
Motor Skills                    77
   Gross Motor                  57
   Fine Motor
Adaptive Behavior Composite
Vineland-3
(Claudia Gutierrez* - Aunt)
Communication
   Receptive                          43                     1
   Expressive                       81 - 83                 10
   Written***                       36-38                  5-6
   Total Communication                                    16-17                31-33    <1
Daily Living Skills
   Personal***                   54 - 60*****              3-4
   Domestic***                        N/C                  ---
   Community***                     45 - 51                 6
   Total Daily Living
Socialization
   Interpersonal Relationships         57                   8
   Play and Leisure Time            43-45                   8
   Coping Skills                      45                    10
   Total Socialization                                     26                   59      <1
Motor Skills
   Gross Motor                         74
   Fine Motor                          54
Adaptive Behavior Composite
  *Completed Spanish version of Vineland, the others were completed in English
  * *Missing subdomain
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***Ranges are provided for lowest and highest possible score. In some cases, a score was not
provided due to examinee's uncertainty, so scores were calculated by scoring a "0" or "2"
**** Administration began at item 15. Range is provided with scores of "O" or "2"
*****No responses were provided for items 28-30. Range is provided with scores of "O" or "2"
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                                         Table 4
                      Testing by John Fabian, PhD (DOT: 03.01 .2017)

This table represents scores obtained after double scoring. Bold represents Dr. Fabian's scores
based on his report from 05.24.2017.

TEST                               RAW SCORE             T-SCORE             %-ile         NORMS
SB-5*                               Sum ofSS           Standard Score                             I
Fluid Reasoning                        12                    76                 5
Knowledge                              21                   103                58
Quantitative Reasoning                 10                    72                 3
Visual-Spatial Processing               9                    68                2
Working Memory                         12                    77                 6

Non-Verbal                               27                IQ: 70               2
Verbal                                   37                IQ: 83              13
Full Scale                               64              IQ: 76 (74)          5 (4)
                                                                            10.20.2017 MN/JR
*Some of the subtests were illegible and double scoring was based on Dr. Fabian' s scoring.

Norms Sources
         2. Manual
List of Test Name Abbreviations

CTONI-2 - Comprehensive Test of Non-Verbal Intelligence-2
SB-5 - Stanford Binet Intelligence Scales-5
Stroop CWT-Stroop Color Word Test
WRAT-4 - Wide Range Achievement Test-4
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                                Appendix B: Interviews and Qualitative Data
     Sources
     1. Interview Notes
             a. Larry Estrada
             b. Andrew Deleon
             c. Patricia Pace
             d. Helen Denise Rodriguez
             e. Sergio Estrada
             f. Claudia Gutierrez
             g. Juana Sowers "Yanez"
     2. Vineland Interviews
             a. Andrew Deleon
             b. Patricia Pace
             c. Sergio Estrada
             d. Claudia Gutierrez

     AAIDD Dimensions
        1. Dimension I : Intellectual Abilities - Performance that is at least 2 SDs below the M of an
           appropriate assessment instrument, considering the standard of error of measurement for
           the specific assessment instruments used and the instruments' strengths and limitations
       2. Dimension 2: Adaptive Behavior
               a. Conceptual - language and literacy; money, time, and number concepts; and self-
                  direction.
               b. Social - interpersonal skills, social responsibility, self-esteem, gullibility, nai'vete
                  (i.e., wariness), social problem solving, and the ability to follow rules/obey laws
                  and to avoid being victimized.
               c. Practical - activities of daily living (personal care), occupational skills, healthcare,
                  travel/transportation, schedules/routines, safety, use of money, use of the
                  telephone.
       3. Dimension 3: Health - state of complete physical, mental, and social well-being
       4. Dimension 4: Participation - roles and interactions in the areas of home living, work,
           education, leisure, spiritual, and cultural activities.
       5. Dimension 5: Context
               a. Environmental factors
               b. Personal factors
     AAIDD Domain 2 Criteria

Conce tual skills-Ian ua e and literac ; mone , time, and number conce ts; and self-direction.
Social skills- interpersonal skills, social responsibility, self-esteem, gullibility, nai'vete (i.e., wariness),
social roblem solvin , and the abili to follow rules/obe laws and to avoid bein victimized.
Practical skills- activities of daily living (personal care), occupational skills, healthcare,
travel/trans ortation, schedules/routines, safe , use of mone , use of the tele hone.
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                                      Larry Estrada Interview
                                            09.29.2017
Description Details                                                                             AAIDD
CwTent      Larry Estrada - English/Spanish                                                     2a, 5a,
details     Intro: by mitigation specialist                                                     5b
            Process: Limits of confidentiality agreed; purpose and process, understands
            • SVS. E=E
History     • Here since 19                                                                     5a
                •
                Fortunate that people fight for me                                              2b, 3,5a
            • I like to read, listen to radio, play board games                                 4
                                                                                                2a, 5b
            • I ain't good in describing myself, what you see is what you get
Development • 1. Houston - till 6 or 7 or 8                                                     4, 5a
            • 2. Mexico - sent 5 months w/ Sergio in 1988-1990
                    0   Living w/ aunt - "the time in Mexico I got to live and experience the
                        life of a kid" ... somebody was always home (U.S. mom not ever home
                        before) ... it was a normal life; ~2 years
            •   3. Houston   - mother got us back
Work        "A lot of labor work"                                                               2c,
                    1. Bus boy - ~ 11 years of age, till 16                                     4, 5a
                        0    Family gotjob, Ignacio's Restaurant
                    2. Painter - help uncles w/ carpet laying and painting
                        0    Summer work; carpet layer helper (e.g., carrying carpe)            2c,4
                        0    "Minimal mental"                                                   1, 2c
                    3. Bagger
                        0    Tried cash register, "It was hard."                                la, 2c
                        0    Couldn't keep up, went to cleaning
School      • "Ah... alright. . .like another job"
                •
                Not overly hard, whatever class I took there was always somebody help           1, 2a-c, 4
                                                                                                2a
            • Self-rate - "average"
            • Better at history
PX4         • ~ - 0 , not gay, not involved, 0 girlfriend                                       2b, 4, 5a,
            • Sex - Oral sex, ~ went down after she did drugs, but I was scared that I would    5b
                get somebody pregnant
            • cS - sort of, through sports though (e.g. football)
Leisure     • Family- never, outside of Mexico, O.K. family                                     2b, Sa
                •
                Football - offensive/defensive/tackle season                                    2b, 4
                    0   2 nd string, Northbrook High School
            • Basketball - just around places that we lived, push-up games                      2b,4
                    0   Usedl/4 of public BB court, school would allow them to play
Self-       • Goal = in life, ~30" 0                                                            2c, 4
direction           0   Finish school (1st to graduate)
                    0   Get my own place
'I'         Dr. Fabian laptop - he was frustrated w/ me. He would flip cards, but I did not     1, 2a, 4
            know, and I would get quiet, like he would give me a word and I would give him
            other words, but didn't know what I was doing
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                                      Andrew Deleon, Jr. Interview
                                              09.29.2017

Description  Details                                                                             AAIDD
Current      Relationship: friend~ 13-16                                                         2b, 4
Details      Lived in trailer park together; middle school year (he 81h, me 7th); Hit it off
             right away
Social group • 2 brothers - Randy and Jamie                                                      2a, 2b,
             • He did whatever his cousins told him; he would follow a lot                       4, 5a
Socially     • Shy, usually; especially w/ girls                                                 2b
Cognition    • Seemed to be level-headed                                                         2a, 2b
             • Basketball                                                                        3
                     0   he couldn' t grasp rules of the game                                    2a
                     0   Double dribble
             •   Money
                     0   He didn't seem to grasp the concept of money                           2a
                              • He never counted money, he paid w/ bills                        2b
'¥           • Second home - He stayed every night and weekend                                  2b, 4, 5a
             • Mom was working and his home was not pleasant                                    2b,3,5a
             • A sad place
                     0   Stepdad always drinking and very loud; including hollering e.g.,
                         '·stupid", 0 space
                     0   Mother didn't speak English

                                      Andrew Deleon Vineland-3:
                                    Administered 09.29.2017 by AEP
                           Only scores of "0" are represented in the table below
                                        *Questions are combined


COMMUNICATION
Receptive   *Follows directions to do 2 things not to go together, 3-stcp directions
            *Pays attn. for 60 min to show/I 5-30 to informative talk to and understands context
            *When told to do something a little later or later that day, he remembers it
            Understands sarcasm
Expressive; Tells the basic parts of a well-known story, e.g. characters, events. ending, etc.
            *Uses behind, in front of, and between in sentences, 2-part sentences joined by and or but
            Gives complex directions w/ 3+ steps
Written     Writes at least 10-20 words from memory
            Understands simple tables, m-aphs, or charts
            *Writes emails, stories, letters, journal entries, etc. That are IO+ sentences
            Uses table of context/index
            Checks/corrects written work before handing in
            Writes papers at least 1 page long using own words
            Writes/draws instructions for others
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                Fills out paper/electronic forms l page or less
                Reads at 6th+ grade level

DAILY LIVING
Personal   Changes clothes when they have gotten dirty, wet, muddy, or smelly
           Chooses exercise for health or enjoyment
           Chooses to eat healthy foods
           P lans for changes in weather, e.g. brings umbrella
Domestic   Is careful around things that can burn him
           Puts away his books or toys when he's done using them
           Does at least 2 simple chores
           Takes off/wipes dirty shoes before going inside
           *Knows what to do in dangerous situations. when to get help, call 911, get away from
           danger
           Cleans floors, e.g. sweeps, vacuums, mops
           Secures home when he leaves
           Uses oven for cooking/baking
           Cleans bathroom
           Notices when simple tasks around house need to be done, e.g. replace light bulbs
           Prepares full meal w/ 3+ food items
Community  Tells time using digital clock
           Avoids dangerous/risky activities or situations
           * Sets short term/long term goals
           Combines coins to make specific amount
           Finds a phone number
           Watches/listens to news for current events
           *Keeps money, phone, etc. Secure when away from home, stores w/o losing
           Uses technoloe:v for at least 2 types of tasks
           *Understands right to vote, stop or start service, report problem w/ product, and right to
           records and other information about himself
           Considers quality/price when buying item
           Checks change to make sure its correct
           Calls if he'll be late to school/appointment
           Plans for daily/monthly expenses and sticks to the plan
           Uses bank account/credit/debit card responsibly
           Buys groceries/household supplies when needed
           Has held a job (10+ hours/week) for at least a month

SOCIALIZATION
Interpersonal Makes good eye contact
Relationships Talks w/ appropriate loudness, speed, and level of excitement
              Keeps proper distance from others
              Talks about shared interest
              Gives cards/gifts to family members on special occasions
              Plans fun activities w/ 2+ things arranged (e.g. birthdays)
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Play and
Leisure
Co in Skills


MOTOR SKILLS
Gross     Runs smoothly, changing speed and direction
Motor
Fine Motor     Makes complex creations, e.g. building toys, assembly sets, arts and crafts materials
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                                         Patricia Pace lnten·icw
                                               09.29.2017

Description Details                                                                        AAIDD
Current     Interviewed in English                                                         NIA
Details     Kindergarten & 1st grade
            • Monarch school for Neurologically Impaired
            • Regular and Special Needs teacher
            Principal
            • Administered over 35,000 students
            Started following case 15 years ago
History     • Very first year he came in a month late; only one apartment complex in a     5a
                "comfortable area"
            • Fell in love w/ this disadvantaged child, I bonded w/ him immediately,       2b, 4
                something about him, we Erravitated to each other
Socially    •   He  never really fit in, a bit of a loner, very lonely/flat kid            2b,4,5a
            • Never clean, poor clothes, smelled regularly, always hungry, truly           2c, 3, 4, 5a,
                disadvantaged                                                              5b
Cognitive   • Seemed to read early, despite this he was very flat                          1, 2a
                    0    but not comprehended - be just called words
            •   He  struggled w/ math
            • He was not engaged
                                                                                           1
            • Today we would call him learning disabled
                                       Patricia Pace Vincl.md"3:
                      DOT: 09.29.2017 by AEP- "From perspective ofK and 9th grade'
                           Only scores of "O" are represented in the table below
                                        *Questions are combined


COMMUNICATION
Receptive  *Pays attn. to show for at least 30-60 min and understands what is happening
           Understands sarcasm
Expressive Says I-word answers, e.g. "want, more, open"
           Says his complete address correctly when asked
Written    Understands visual instructions
           *Writes reports/summaries and/or emails, stories, or letters at least 3 sentences
           Reads at 4 th+ grade level
           Uses internet/library to find infonnation
           Fills out paper/electronic forms
           Writes business/application letters

DAJLY LIVING
Personal   Washes/dries hair/face
           Changes clothes that have gotten dirty, wet, muddy, or smelly
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                Buttons small holes in correct holes
                Finds and uses proper restroom away from home
                Knows which foods are healthy/unhealthy
                Chooses exercise for health/enjoyment
Domestic        NI A - not administered
Community       Says the current days of week/date on calendar when asked
                Knows value of change (oenny, dime)
                Avoids dangerous situations/ acts safely when working/having fun
                Uses money to make small purchases
                *Sets short/long term goals
                Get up on time when needed
                Uses clock to keep track of time
                Finds phone number
                Carries money safely
                *Understands rights: right to vote, report problem w/ product, start/stop service/see
                records or information about self
                *When needed travels alone to familiar/new places
                Uses map
                Checks changes after purchase
                Plans ahead for expenses
                Calls if he' 11 be late to school/aooointment
                Has held job (1 O+ hours/week) for 1 month
                Buys groceries/household supplies
                Pays for daily expenses/bills on time

SOCIALIZATION
Interpersonal Shows at least 3 different emotions **Note: Flat
Relationships Gives affection to people he knows
              Makes good eye contact
              Talks w/ right loudness, soeed, and level of excitement
              Imitates activity several hours after watching someone do it
              Tries to make new friends his aae
              Starts small talk
              Congratulates people when good things happen
              Talks w/ others w/o interrupting or being rude
              Chooses friends w/ good qualities
              Talks/starts conversations w/ others about things they are interested in
Play and      Plays w/ at least 1+ child for 30 min w/ supervision
Leisure       Copies child playing nearby, even though they are not playing together
              Would rather play w/ other children than watch them or play alone
              Shares toys/other things when told
              Plays make-believe
              Moves away from children who try to hurt/destroy things
              Asks others to play or spend time together
              Goes to places w/ others his age during day/night w/o supervision
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                Plays w/ others at games that need decisions/skills
                Plans fun activities w/ 2+ things arranged (e.g. birthdays)
                Gets schedule information (movies, sports events, concerts, etc.)
Coping Skills   Changes easily b/w activities
                Remembers to say please and thank you
                Handles changes in regular routine w/o getting upset
                Copies others' behavior when he doesn't know how to act
                Follows time limits
                Thinks thouah consequences
                Keeps others from controlling/taking advantage of him
                Stays away/leaves relationship where someone may get hurt
                Understands friendly person might take advantage of him
                Understands advertising may not be true
                Let's you know about plans when he goes out

MOTOR SKILLS
Gross Motor Only scores of 2
Fine Motor  Only scores of 2
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                                   Helen Denise Rodriguez Interview
                                            DOT: 09.29.2017

Description Details                                                                        AAIDD
Current       Interviewed in English
Details       • Teacher                                                                    5a
                      o Special ed., 7 th and 8th
                      o In general class setting LD
                      o Some behavioral, reading, writing, and comprehension
              • Met Marcial who was w/ Juana; her family had a restaurant
                      o He thought of Marcial as his father (actually not his father)
                      o Lived w/ Marcial ~ 10-12                                           5a
                      o Worked at restaurant, bussed tables on Friday nights and           2c,4,5a
                          weekends
                              • She and Marcial would pick him up and take him back
                      o Saw them on weekends & holidays extended family including
                          her mother
Positive      • Obedient                                                                   2a,2c, 4, 5b
              • Trustable
              • Helpful to customers
              • Enjoyed job
              • Sweet kid
              • Always easy going
              • Happy
              • Kind heart
              • Always willing to help
              • Appreciation of whatever you give him
              • Always wanted to please others
              • He had a good heart
Negative      • Juana made Marcial's life difficult - did not put kids first, especially   5a
                  after she became Jehovah witness
              • Some difficulties with sorting
              • Being comfortable with customers
              • Didn't like to read
              • So easily influenced
              • No friends
              • Couldn't learn Spanish
              • Mostly did simple repetitive task at work
              • Marcel had to explain things to him in a concrete way
              • Moved to Spring Branch, lost real track of him in 8th grade                5a
                      o Bad section of town
                      o Marcial had less influence
                      o He got a wrong family
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                                       Sergio Estrada Interview
                                              09.29.2017

Description Details                                                                        AAIDD
            Interviewed in Spanish and English
               •Knew Larry around ages 13-16/ 17
            • Cousin, distant, his mom and my mom are cousins                              Sa
            • As kids growing up, we knew each other and hung out a lot especially         2b, 3,4,5a
                in high school when we played football (JV) and video games also
                some basketball
            • HS and some college, Navy 10 years, ES, Officer, 2 nd class turbines
Negative    • Easily influenced by people (especially wrong people) hung out w/ bad        2a
                cousins who were robbing stores and banks (we then went separate
                directions); I was a junior in HS
            •   He  wasn't very bright, he was very slow, it took him a while to figure    1, 2a, 2c
                out simple stuff and I had to help him w/ his:
                    1. Homework
                    2. Math/ change (money) at store
                    3. Application for jobs
                    4. He was constantly yelled at by the coach, he needed him b/c he
                    was big
                    5. Whereas he shot, at dribbling be was mediocre, but he couldn't
                    follow the basketball rules. He said that Sergio Estrada changed the
                    rules
A           • Regular to gangster wannabe in one day                                       2b
                    0   My other cousins were in gangs for easy money, but too dumb to     Sa
                        realize right from wrong even to this day
               •His brain doesn't function like normal human being

                                      Sergio Estrada Vineland-3
                                   Administered 09 .29.2017 by AEP
                          Only scores of "O" are represented in the table below
                                       *Questions are combined


COMMUNICATION
Receptive  *Pays attn. to 30-60 min story/ informational talk and understands context
           *Remembers when told to do something right after/later in day
           Follows L and R directions
           Understands sarcasm
Expressive Tells basic parts of well-known story (e.g. characters. ending)
           Uses behind, in front of. and in bA11 in sentences
           Uses 2-part sentences joined w/ and our but
           Says something in different way if someone is having trouble understanding
           Gives complex directions
Written    Uses table of context/index to find something
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               Checks/corrects own work before handing it in
               Writes papers at least l page long in own words
               Reads at 9 th + grade level
               Fills out paper/electronic form
               Writes business/aoolication letter

DAILY LIVING
Personal   Chooses exercise for health/enjoyment
           Goes to doctor b/c of injury/illness
           *Takes medicine/temperature as directed
Domestic   Puts toys/books away
           Takes off dirty shoes in house
           *Does laundry/ puts clean clothes away where they belong
           Hangs wet towel
           Washes fruits/vegetables before eating/preparing
           Careful w/ household appliances/equipment
           Cleans bathroom
Community  Knows difference b/w dollar bills
           * Sets short/long term goals
           Combines coins to make certain amount
           Finds a phone number
           Carries money safely
           *Understands rights: right to vote, report problem w/ product, start/stop service/see
           records or information about self
           *When needed, travels alone to familiar/new places
           Has worked to earn money outside of family
           Uses map
           Checks changes after purchase
            Plans ahead for expenses
           Calls school/work if absent
           Has held job (] o+ hours/week) for 1 month
            Buys szroceries/household supplies
           Pays for daily expenses/bills on time

SOCIALIZATION
Interpersonal Talks with right loudness, speed, and level of excitement
Relationships Chooses friends w/ good qualities
              Picks up hints in conversations
Plp.y and     Plays games w/ others where players keep score
Leisure       Gets schedule information (movies, sports events, concerts, etc.)
              Goes out during day/night w/ people his age w/o supervision
Coping Skills Understands person maybe acting friendly to take advantage
              Understands advertising may not be true
              Let's you know plans/where he is going
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MOTOR SKILLS
Gross Motor Runs smoothly, changing direction and speed
Fine Motor  Makes complex creations using building tovs, assembly sets, etc.
            Ties secure bow
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                                      Claudia Gutierrez Interview
                                              09.30.2017

Description Details                                                                          AAIDD
            Interviewed in Spanish
                • Tia hermana                                                                2a, 5b
                • No la habia visto por 1.5 aflos, carta
                • Casada
                • 3 hijos
                       o Tumor de! cerebro, inoperable con epilepsia
                • 1 nieta
                • Mexico, Tuxpan, casada con 1 hijo
                       o Vivi6 casi un afio (no completo)
                       o Pas6 el afto en la escuela, 10-11 aftos
                              • (paso el cumpleafios en Mexico)
                                                                                             2b
                • Antes: regular contacto por telefono
            Despues: infrecuentemente fisicamente

A los 10      1. Se hacia pipi en la cama                                                    3,5a
              2. No podfa arnarrar los zapatos (0 el nudo)                                   2c
                      a. El la se los an1arraba
              3. Tenia que ayudarlo mucho
              4. En la escuela, tenfa que ponerlos presentables                              2b, 2c, 4, 5a
                      a. Por ejemplo, los botones en las camisas eran incorrectos, el
                          cuello para un lado, etc.
              5. Arriba de la camisa, nose ponia la chaqueta al reves                        2c
              6. Los zapatos al reves                                                        2c
              7. Otra vez un tenis de mi hija y otra era de Sergio
              8. Sus grados eran bajos (tiro su libreta), los grados no eran nada buenos     1, 2a
                  para el tercer grado; 60, 65, 70; ninguno mas de 79; 0 = 80s, 90s, 100s
              9. Cuando regreso, fa116 un grado en Houston                                   2a, 2c, 4
              10. En total, "no tan normal," muy despacio, no le i.mportaba o pensaba si     1-5
                  las cosas no estaban bien - bien o mal hecho igual
              11. No evitaba cosas peligrosas                                                2a
              12. A los 16, el todavfa tenia difi.cultades con cosas simples (e.g., montar
                  caballo)
                      a. Le hablaba a el cabal lo como si fuera una persona                  2a,2c
                      b. El decia que el caballo no lo entendia
              13. Story of cop
                  • No es normal, no razona
                  • Estaba bien con supervision
              Orphan - sin madre o padre




                               Claudia Gutierrez Vincland-3 (Spanish):
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                  Administered 09 .29.201 7 by AEP; Referenced Larry at 10-11 years old
                          Only scores of "0" are represented in the table below
                          Following table is translated from Spanish to English
                                        *Questions are combined


COMMUNICATION
Receptive  *Follows directions for: "if-then", 2 things that go together, same thing but 2
           different objects, 2 things that don't go together, 3-steo directions. and Land R
           *Answers questions using ·'why" and ··when"
           * Pays attn. to show for at least 60 min show/I 5-30 min informational talk and
           knows context
           *Follows directions when told to do something right after/later that dav
           Understands sarcasm
Expressive Uses pronouns you, he, she, him, and her to refer to others
           Uses two-part sentences using and or but
           *Gives complex directions w/ 3+ steps
Written    Copies sentences w/ 4+ words w/o errors
           Reads at 2 nd+ grade level
           *Write simple papers. letters, notes, emails 3+ sentences
           Understands simple tables and graphs
           Uses table of contents/index
           Checks/corrects work before handing it in
           Uses internet or library to find information
           Writes/draws instructions for others
           Fills out electronic form
           Write business aoolication/letter

DAILY LIVING
Personal   Feeds himself w/o spilling
           Washes and dries hands w/ soap
           Puts on his shoes
           *Knows exercise is good for people/ exercises for health/eniovment
           *Spreads/cuts easy/harder-to-cut food w/ knife
           Bathes/showers/dries himself
           Selects proper clothing based on weather
           *Knows which foods are healthy/unhealthy and easts healthy foods
           *Takes medicine/temp when directed
           Keeps track/refills medicines
Domestic   NIA
Community  Knows name for change (nickel, dime. penny)
           Looks both ways when crossing the street
           Knows how to make call in emergency
           Knows differences of dollar bill values
           *Sets short/long term goals
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                   Combines coins to make specific amount
                   Gets up on tin1e when needed
                   Keeps money, phone, wallet, secure when out
                   *Uses technology for at least 2 tasks/social interaction
                   *Understands rights: right to vote, report problem w/ product, start/stop service/see
                   records or information about self
                   Considers quality and price of item
                   Counts change after purchase
                   Uses map

SOCIALIZATION
Interpersonal Uses words to express feelings
Relationships Imitates activity after several hours of watching someone else do it
              Keeps friends over time
              Give cards/presents to family/friends on special occasions
              Talks with others w/o interrupting/being rude
              Starts small talk when he meets new people
              Chooses friends with good qualities
              Stays on topic in conversations
              Talks w/ others about things they are interested in
              Realizes when someone needs something explained in order to follow what he's
              saying
              Does things he' d want friends to do
              Picks up hints in conversations
Play and      Moves away from children trying to destroy things/hurt others
Leisure       Joins m-oup when they let him know w/ words he' s welcome
              Plays w/ children w/o supervision
              Gets together w/ 2+ others his age at someone's home
              Follows rues in games/sports
              Plays w/ other w/ games that need decisions and skill (board games, monopoly)
              Plans ahead to do things with people his age
              Plans fun activities w/ 2+ things arranged (e.g. birthdays)
              Gets schedule information (movies, sports events, concerts, etc.)
              *Goes places w/ others his/her age during the day/night w/o supervision
Coping Skills Handles changes in regular routine w/o getting too upset
              Apologizes after small mistake
              Comes home when told
              Thinks through consequences of actions
              Respects others' time
              Understands person acting friendly maybe taking advantage
              Understands advertising might not be true

MOTOR SKILLS
Gross Motor Hops on 1 foot at least once w/o falling
            Hops forward on 1 food w/ ease w/o holding onto anything
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                       Rides balanced bike w/ training wheels at least 10 feet
                       Catches tennis ball from IO feet away
  Fine Motor           Ties a knot
                       Cuts out complex shapes
                       Ties secure bow
                       Works w/ very small objects

                                        Juana Sowers '~Yanez" lnterview
                                                  09.30.2017

Description Details                                                                            AAIDD
            Interviewed in Spanish

                Relacion: Madre - 08.22.1960                                                   2b,Sa
                Pape! como madre en "todo," de comer a el doctor a la escuela; le di lo
                basico
Historia            • ~ Florencia Estrada - nos crio, 12 a.nos en total, muri6, intacto        2b
                          a
                    • Timoteo Yanez - no parte de la vida de ella
                   Yanez - Ti pico de alli, andaba sin bafiar, cultivan para vivir, eramos     2c,Sa
                   pobres

                   Escuela - no fue nada; e.g., x2/meses en burro al otro pueblo, uso          2a
                   papeles para escribir, puede leer un poco, un poco menos escribir

                   Abuso - nos pegaban, eramos traviesos, nos daban duro cuando
                   haciamos algo malo                                                          2b, 3, Sa, Sb

                   • Marcelo, padre de Sergio, no tan bueno, alcoh6lico
                              0  No me pego mucho X2/X3                                        2b,Sa
                   •      Matias, el en una casa, yo en la mfa
                             0   trabajabamos juntos, nada mas sexo -> bebito -> 0
                                 "muchos"
                   •      David, otro, nada mas hizo un bebe, no relaci6n
Px4                • Xl Sowers                                                                 2b,3,Sa,Sb
                   • No me fue bien, tomaba mucho
                   • El era pegado a su padre, no trabajaba bien
                   • Dejo la familia, el le pegaba
Rijos              • David (f!luerto) - ahogo en el bafio, bafiandose con Larry                3, 4, Sa
                              0   El se meti6 el solo
                              0   Afecto Larry, estuvo gritando
                   • Larry
                   • Sergio                                                                    2b, Sb
                              0   Esta mal de la mente, 0 comunicaci6n, enojada, resentido
                                                                                               2b, Sb
                   •      Kirk
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                            0    Mucho suefio, muy despacio, calrnado, estudia, 0 trabajo
                 • Jamie                                                                      2b, 5b
                            0    ~ trabaja, mas responsable, regresar a la escuela
                     •   Brian                                                                2b, 5b
                            0Navy, diamante de la familia, tiene el cerebro
                            0buenas metas, me da pena, no puedo comunicarme con el
Larry            • Positivo
                         0   Es buen muchacho, acepta su situaci6n, era un nifio              2b, 4
                             bueno, nunca se peleaba con nadie
                         0   Cuidaba sus bermanos                                              1, 2a
                         0   No reprob6 ningun aflo
                 •  Negativo                                                                  2c
                         0   No arreglaba su cuarto                                           2c, 3, 5a
                         0   Queria dormir mucbo                                              2b
                         0   Facil como la gente podfa controlarlo                            2b,4
                         0   Muy dificil para manejar
Work          Limpieza, restaurant, sigue trabajando                                          2c, 4
PX4              • No me ha ido bien                                                          1, 2a, 2c, 4, 4a,
                 • No se por que; una pregunta muy dificil                                    Sb
                         0   i,Muy rebelde?
                         0   i,Mala chamaca?
                         0   i,No hay hombre para?
                         0   i,Nadie esta serio conmigo?
                         0   i,NO creo en hombres?
Violar           •       No violan; pero sexo a golpes, si
                            0   Empez6 a los 10, seguro antes de los 13
                            0   Mi mente no esta bien
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                           Appendix C: Affidavits RE Larry Adaptive Domains

       Materials in Bold are included as part of the table.
       * This informant did not provide sufficient information regarding Mr. Estrada's adaptive
       functioning and for such reason were not included in the following table.
       Affidavits
                   a. Andrew Deleon Jr.
                   b. Patricia Pace
                   c. Michael Hamling
                   d. Helen Rodriguez
                   e. Elvia Carrillo*
                   f. Belinda Deleon
                   g. Cipriano Ocampo*
                   h. Mario Estrada (in Spanish & English) *
                   1. Sergio Antonio
                   J. Bernado Estrada*
                   k. Maurino Estrada (in Spanish & English)
                   1. Teresa O'Campo (in Spanish & English)
                   m. Flora Estrada (in Spanish & English) *
                   n. Claudia Gutierrez

Date       Description                                                                                  Source
03.04.2016 Andrew Deleon, Jr. - Close childhood.friend and neighbor at trailer park                       15a

            CONCEPTUAL SKILLS
            Functional Academics
                • Struggled w/ basic concepts - e.g. sports rules, counting change, understanding big
                   picture of conversation
            Self-Direction
                • Went to school, work, & hung out w/ Andrew daily
                •  Stayed at Andrews to get away from his own violent house
                •  Didn't know when people were taking advantage of him
                •  Didn't instigate fights

            SOCIAL SKILLS
                • Wanted to fit in badly - follower
                • Would do anything for someone he thought was his friend
                • Quiet, didn't speak around other people; socially awkward
                • Became friends ' w/ cousins in gang - dressed like them
                • "Most people know how to read other and avoid being manipulated. Larry didn't
                   have that ability"
            Leisure
                • Walked around trailer park, went to others' houses, & played video games
            PRACTICAL SKILLS
            Daily Livinf( and Personal Care
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Date        Description                                                                                  Source
               • Stepfather, Scott, was alcoholic - would yell at LE even if he didn't do anything
                   wrong
                      0  Only affection in house was b/w Larry and his brother and sister
            Work/School
               • Hard worker - went to work right after school
03.04.2016 Belinda T ovar - Mother oflose childhood friend, Andrew Deleon, & neighbor at trailer          15f
           park

            CONCEPTUAL SKILLS
            Functional Academics
                • Needed to be shown how to do tasks
            Self-Direction
                • Didn't think he was able to tell someone's intentions
                • Not a planner/problem solver - didn't think about the future
                •  Didn't have abilities to make good decisions & be a forward thinker

            SOCIAL SKILLS
              • Confided in Belinda about his home life (Scott's abuse)
            PRACTICAL SKILLS
            Communication
               • Respectful -would say "ma'am" & "sir"
            Daily Living and Personal Care
               • Didn't mind rules in the house
               • Struggled w/ hygiene - clothes were dirty- didn't know how to do laundry
               • Didn't know how to cook or clean
            Work/School
               • Her son would have to make sure LE was awake for school
03.08.2016 Michael Hamling - 7th grade history teacher and 8111 grade football coach                      15c

            CONCEPTUAL SKILLS
            Functional Academics
                • Could do basic tasks but not good at problem solving
            Self-Direction
                • "The chances that things were going to turn out well for him were slim"
            SOCIAL SKILLS
              • "Wanted to belong" ... "be part of the team" ... "fit in"
              • Very easily influenced
              • School - quiet and kept to himself
            PRACTICAL SKILLS
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Date       Description                                                                                   Source
           Daily Living and Personal Care
              • Clothes were clean
           Work/School
              • Football
                      o Kept his head down and " worked hard"
                      o Not talented but followed orders
              • School
                      o T AAS reflected struggle w/ basic functioning - missed min requirements for
                         grade
                      o Barely passed history
                             • Grade was b/c of lack of understanding material, not lack of effort
03.04.2016 Patricia Pace -Kindergarten and 1st grade teacher at Hancock Elementary                        15b

            SOCIAL SKILLS
              • Desperately wanted to please people - do anything for approval
              • "Sweet and sensitive"
              • Took even small criticisms hard

           PRACTICAL SKILLS
           Daily Living and Personal Care
               • Clear he was poor
                      o Had nothing for school - no backpack or supplies
               • Knew he was abused - showed Pace bruises
               • Overweight - clothes didn' t fit
               • Came to school dirty and smelled
               • Always came to school alone
           Work/School
               • T AAS - didn' t pass minimum standards of what students are expected
                      o "Fell through the cracks"
               • For the most part, had good attendance
03.04.2016 Helen Rodriguez - Married to Marcial Perez, biological father ofLE 's younger brother,         15d
           Sergio. Knew LE since he was 5, would stay w/ them during summers

            CONCEPTUAL SKILLS
            Self-Direction
                • "It's like the part ofLE' s brain that controls judgment did not function normally"
                • Couldn't see consequences or the future - only present
                       o Couldn't take one experience and apply it to the next experience
                       o He only saw what was right in front of him at the moment.
                • Emotional growth and maturity were stunted
            Language/ Literacy
                • Was not fluent in Spanish when he was sent to Mexico for 1 year

            SOCIAL SKILLS
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Date         Descriotion                                                                                  Source
                • Never talked back or argued                                                              15d
                • Gullible and easily influenced - could be convinced to do anything
                • Larry was also extremely innocent and naive.
                • Larry could be lured down a bad path but not even notice what was happening until
                   it was too late.
                •  Cared   about making others happy and proud of him - "Wanted to be accepted"
                • Innocent and naive
                • He couldn't see ahead to where he would end up ifhe followed a certain course of
                   action. Larry understood what was in the moment and could not see the bigger
                   p icture.
                • Social Judgement:
                        0   It' s like the part of the brain that controls judgement did not function.
                        0   Larry couldn't read people and understand relationships

           PRACTICAL SKILLS
           Daily Living and Personal Care
              • Never saw him drive or take the bus
              • Cleaned up after himself after dinner when staying w/ Helen
              • Could do very simple tasks around the house
           Work/School
              • Worked as busboy for ~ 3-4 years in restaurant Helen' s father owned. He started
                  working there when he was around age 13.
                      0  Worked hard and took pride
                      0  Trustworthy and obedient at work - eager to please
              • Examples of intellectual functioning at work:
                      0  Couldn't answer questions customers would ask on his own
                      0  Needed to be told what molds different utensils needed to go in
                      0  Struggled w/ sequencing
                      0  Focused on task at hand but struggled switching tasks
              • "Significant intellectual limitations" in school.
              • She gives some examples as how he has difficulty processing information and
                  compares him to the children she teaches.
              • Larry needed someone to walk him through a multistep process at work, even if the
                  task was simple
02.12.2017 Sergio Antonio Estrada - Cousin andfriend ofLE                                                  15i

             CONCEPTUAL SKILLS
             Self-Direction
                 • Difficult to keep attention on one thing - too distracted by playing
                 •  No direction - lived one day at a time
                 • Fell into group of friends who were in gangs
             Functional Academics
                 • If card was rejected at store, LE would use trial and error (put few things back and
                    run card again) rather than subtracting from total amount
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Date        Description                                                                                     Source
               • Trouble counting change - would try but was slow                                             15i
               • Didn' t budget - would either buy a lot of junk food or nothing at all
               • Copied Sergio' s answers on job applications
            Language/ Literacy
               • Spoke & understood Spanish poorly-Most Mexican kids were proficient at 90%,
                  LEat20%
               • When they went to Mexico, Sergio had to translate for LE
               • Struggled managing two languages at once - mixed languages
               • Poor grammar and underdeveloped vocabulary in English
               • Stuttered a bit
            SOCIAL SKILLS
                • "Very friendly, gullible, easily convinced, and desperate to fit in"
                • No male figure to look up to
                        0  Looked up to Uncle Albertano (drank, smoked, and harsh to LE)
                • Didn't talk back or argue w/ mother
                • Played basketball w/ adults who drank and called him overweight - Couldn't
                    defend himself and Sergio had to protect him
                • Shy at first (avoid eye contact) but trusted quickly if said right things
                • Trouble understanding jokes
                •   Conversations were only about sports, events in school, and video games
                •   Shy and awkward around girls, struggled approaching them
            Leisure
                • Played video games and basketball together and soccer w/ other family
                       0   Sergio explained rules several times, LE wouldn' t fully understand
            Behavior and Emotion
                • Seemed depressed
                • "I believe Larry would not be where he is today if not for his intellectual disability"
            PRACTICAL SKILLS
            Work/School
               • Slow learner - Sergio helped w/ biology and English
               • Larry often ran late, if he was doing something fun, he didn't remember that he
                   needed to be somewhere else.
            Daily Living and Personal Care
               • Didn' t cook - ate junk food
               • LE was responsible for cleaning apartment but never did - Apartment was dirty &
                   chaotic

02.13.2017 Maurino Estrada - Cousin ofJES; Hired LE to lay carpets when Larry was about 15-16                15k

            CONCEPTUAL SKILLS
            Functional Academics
               • "Living his life w/out any direction"
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Date        Description                                                                                Source
            Self-Direction                                                                              15k
                • Started hanging out w/ boys in gangs and stopped going to school
            Language/Communication
                • Understood LES in Spanish but only responded w/ simple answer
                • Didn't have conversations w/ Maurine
                • Ability to speak and understand more than basic Spanish was very poor
                • Would repeat sentences in English when he was asked to do something

            SOCIAL SKILLS
              • Did what he told him to do
                •When they made fun of him 'Larry never defended himself or said anything in
                 reply"
                •"We did not have conversations"

            Behavior and Emotion
               • Calm, fearful, and confused as boy
            PRACTICAL SKILLS
            Work/School
              • Was only given small tasks b/c he couldn't afford to let LE do other jobs
                     0  Was slow and took more time to learn skills and correct tool names

02.14.2017 Teresa Ocampo Estrada - Married to LE 's uncle, Tiberio Estrada                              151

            CONCEPTUAL SKILLS
            Self-Direction
                • Was told relatives were in gangs, they couldn't be trusted, he was friends w/ them
                   anyway

            SOCIAL SKILLS
               • A voided eye contact when speaking
               • Did not seem to have friends. He was shy and meek
            Behavior and Emotion
               • Shy and meek
               • Looked sad - sullen appearance
            PRACTICAL SKILLS
            Communication
              • Seemed to understand Spanish when she told him something, but would look
                 confused if she asked him a question
              • "We laughed at Larry because he didn't speak Spanish fluently. Larry talked
                 principally to ask for simple foods, but he couldn't get those words out."
              • Larry spoke to ask for food, but even then, couldn't get the words right
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Date           Description                                                                                     Source
                  • Tried to talk to LE about gangs in Spanish - doubted he would've understood even             151
                      in English
               Daily Living and Personal Care
                  • Would walk w/ Sergio (brother) to Teresa's house to eat
                  • Was alone b/c JES was working
06.2019        Claudia Gutierrez- Mr. Estrada 's maternal aunt                                                  15n

               CONCEPTUAL SKILLS
               Academic Performance:
                  • Larry had trouble with basic school assignments
                   • He had trouble following rule/understanding how to complete a pattern. A difficulty
                     that did not seem to extrapolate to other children in his classroom.
                  • He bad trouble with Basic School assignments.
                  • Even when instructions were clear, and he read these instructions Larry was not
                     able to do it with some extra help from his aunt.
                  • She shared that Larry continued to struggle even though the school was in English.
                  • Larry struggled in math assignments. When he returned to the US Juana had to put
                     Larry in tutoring for math. Claudia is unsure how aware her sister was aware of
                     Larry' s deficits and how much help he needed doing schoolwork.
                  • When talking about how be struggled with basic concepts she added that on his
                     birthday there was a cake that was meant to be shared with family members and
                     Larry did not understand that the small cake was not big enough to be shared with
                     his friends.
                  • Larry regularly wet the bed when he was age 10. After wetting his bed Larry would
                     take of his pants but stay with the dirty underwear. Claudia shared that if she left it
                     up to him, he would go to school with the dirty underwear.

               PRACTICAL SKILLS:

                   • Larry was not good at counting money; I could not trust he would get the right
                       change
                   •   When helping her with the dished the dishes would break and instead of telling his
                       aunt he would just hide.
                   •   She shared that Larry shine the school shores and that this was a task that he did do
                       well, however she had to constantly remind him how to do it. She had to hand him
                       the supplies and give specific instructions as to what he had to do. She had to
                       constantly check his work.
                   •   Larry struggled with simple tasks. Claudia gave examples such as the difficulty
                       Larry had properly putting his shoes on and tying his shoes. She shared that still at
                       age 10 Larry struggled with properly tying his shoes. He put mismatch shoes.
                   •   Claudia also shared that he had difficulty walking around or getting somewhere on
                       his own, he would get lost.
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Date        Description                                                                                     Source
            Work:

                • Larry confided in his aunt that he got confused at work, doing carpeting. Larry
                      could not get the techniques right even after he was instructed in how to do it
                      several time. His coworkers would make fun on him because of that. Larry felt
                      humiliated. He also told his aunt he never understood how to measure the carpet to
                      fit accordingly into the room. His other coworkers that were his same age were able
                      to do it.
                •     When working at the restaurant Larry was given simple tasks, such as putting ice in
                      the cups, so they were ready for the waiters.

            SOCIAL SKILLS
            Nai've:

                •     When Larry had to ride a horse and could not get off. When the horse made it to
                      where he would normally eat com Larry was able to get off. Larry asked how the
                      horse knew when to stop so he could get of he did not understand that the horse
                      simply went to get food and wasn't thinking about how to help him get off.
                •     Larry was nai've. Claudia shared an event in which he was taken advantage of, he
                      ended up trading a $25.00 baseba!J cap for 20 pesos and still thought he owed 200
                      pesos to the children.
                •     She also shared a he bad another job in which be was paid with flowers/
                •     He was so nai've he didn't believe his cousins would do anything to harm him.
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                              Appendix D: Definition of Intellectual Disability
       1. American Association of Intellectual and Developmental Disabilities (AAIDD)
       2. Diagnostic and Statistical Manual of Mental Disorders-5 (DSM-5)
       3. International Statistical Classification of Diseases and Related Health Problems 10th Revision
          (ICD-10)

Description                                                                                           Source

American Association of Intellectual and Developmental Disabilities (AAIDD)                                1

    • Intellectual Disability (ID) characterized by significant limitations in both intellectual
      functioning and adaptive behavior
           0  Originates before age 18
   • Intellectual functioning "refers to general mental capacity, such as learning, reasoning,
      problem solving, and so on.''
           0  IQ score of around 70 or as high as 75 indicates a limitation in intellectual
              functioning.
   •  Adaptive  behavior is the collection of conceptual, social and practical skills that are
      learned and performed by people in their everyday lives
   • Textbook available titled "The Death Penalty and Intellectual Disability"
           0  Application of diagnostic information concerning ID and death penalty cases
           0  Court rejected IQ test score of 70 as a cutoff for determining ID
   • Individuals with ID in the criminal justice system are often:
           0  Unrecognized as having a disability
           0  Victimized at high rates
           0  Denied redress
           0  Denied due process
           0  Discriminated against in sentencing, confinement and release
Diagnostic and Statistical Manual of Mental Disorders-5 (DSM-5)                                            2

   • ID involves impairment in intellectual functioning (general mental abilities) and adaptive
        functioning (conceptual, social, practical) "in comparison to an individual's age-, gender,
        and socioculturally matched peers. Onset during the developmental period"
    • Affects approx. 1% of the population
            0   Of these 85% have mild ID
   •    Full scale IQ test scores are no longer required for diagnosis
    • Standardized testing is required as part of the diagnostic assessment
    • IQ score of 70-75 indicates a significant limitation, the IQ score must be interpreted
        clinically in the context of impairments in general mental abilities
   •    Emphasizes need to use both clinical assessment and standardized testing
International Statistical Classification of Diseases and Related Health Problems 10th Revision             3
(ICD-10)

   • Mental Retardation (MR) characterized by impairment of skills manifested during the
         developmental period
            0   Impairment of cognitive, language, motor and social abilities
            0   Diagnosis should be based on current levels of functioning
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          o Can occur with or w/o another physical/mental disorder
•     MR individuals are at a greater risk for exploitation and physical/sexual abuse
•     Adaptive behavior is always impaired
•     For diagnosis there should be reduced level of intellectual functioning resulting in
      diminished ability to adapt to the daily demands of the normal social environment
•     Diagnosis divided into:
         o Mild MR
         o Moderate MR
         o SevereMR
         o Profound MR
         o OtherMR
         o Unspecified MR
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